Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 1 of 10




                              EXHIBIT A
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 2 of 10


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                                      Muldrow v. City of St. Louis
                                         Supreme Court of the United States
                                  December 6, 2023, Argued; April 17, 2024, Decided
                                                     No. 22-193.

Reporter
2024 U.S. LEXIS 1816 *
                                                             the day-to-day activities of neighborhood patrol officers.
JATONYA CLAYBORN MULDROW, PETITIONER v.
                                                             She also lost access to an unmarked take-home vehicle
CITY OF ST. LOUIS, MISSOURI, ET AL.
                                                             and had a less regular schedule involving weekend
                                                             shifts.
Notice: This preliminary version is unedited and subject
to revision. The pagination of this document is subject to
                                                             Muldrow brought this Title VII suit to challenge the
change pending release of the final published version.
                                                             transfer. She alleged that the City, [*2] in ousting her
                                                             from the Intelligence Division, had “discriminate[d]
Prior History: [*1] ON WRIT OF CERTIORARI TO
                                                             against” her based on sex “with respect to” the “terms
THE UNITED STATES COURT OF APPEALS FOR
                                                             [or] conditions” of her employment. 42 U. S. C. §2000e-
THE EIGHTH CIRCUIT
                                                             2(a)(1). The District Court granted the City summary
Disposition: 30 F. 4th 680, vacated and remanded.            judgment. The Eighth Circuit affirmed, holding that
                                                             Muldrow had to—but could not—show that the transfer
                                                             caused her a “materially significant disadvantage.” 30 F.
Core Terms                                                   4th 680, 688. Muldrow’s lawsuit could not proceed, the
                                                             court said, because the transfer “did not result in a
conditions, sex, disadvantage, terms, transferred,
                                                             diminution to her title, salary, or benefits” and had
courts, take-home, changes, color, national origin,
                                                             caused “only minor changes in working conditions.”
allegations, religion, harms, privileges of employment,
investigations, discriminate, weekends, patrol, words,       Held: An employee challenging a job transfer under Title
terms of employment, prestigious, alteration, uniformed,     VII must show that the transfer brought about some
causes                                                       harm with respect to an identifiable term or condition of
                                                             employment, but that harm need not be significant. Pp.
Syllabus                                                     5-11.

                                                             (a)Title VII makes it unlawful for an employer “to fail or
                                                             refuse to hire or to discharge any individual, or
Sergeant Jatonya Clayborn Muldrow maintains that her
                                                             otherwise to discriminate against any individual with
employer, the St. Louis Police Department, transferred
                                                             respect to his compensation, terms, conditions, or
her from one job to another because she is a woman.
                                                             privileges of employment, because of such individual’s .
From 2008 through 2017, Muldrow worked as a
                                                             . . sex.” §2000e-2(a)(1). Both parties agree that
plainclothes officer in the Department’s specialized
                                                             Muldrow’s transfer implicated “terms” and “conditions” of
Intelligence Division. In 2017, the new Intelligence
                                                             Muldrow’s employment. The applicable statutory [*3]
Division commander asked to transfer Muldrow out of
                                                             language thus prohibits “discriminat[ing] against” an
the unit so he could replace her with a male police
                                                             individual “with respect to” the “terms [or] conditions” of
officer. Against Muldrow’s wishes, the Department
                                                             employment because of that individual’s sex.
approved the request and reassigned Muldrow to a
uniformed job elsewhere in the Department. While
                                                             That language requires Muldrow to show that her
Muldrow’s rank and pay remained the same in the new
                                                             transfer brought about some “disadvantageous” change
position, her responsibilities, perks, and schedule did
                                                             in an employment term or condition. Oncale v.
not. After the transfer, Muldrow no longer worked with
                                                             Sundowner Offshore Services, Inc., 523 U. S. 75, 80.
high-ranking officials on the departmental priorities
                                                             The words “discriminate against,” the Court has
lodged in the Intelligence Division, instead supervising

                                                  Kyle MacDonald
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 3 of 10
                                                                                                             Page 2 of 9
                                               2024 U.S. LEXIS 1816, *3

explained, refer to “differences in treatment that injure”     decision in Burlington N. & S. F. R. Co. v. White, 548 U.
employees. Bostock v. Clayton County, 590 U. S. 644,           S. 53. The Court there held that Title VII’s anti-retaliation
681. In the typical transfer case, that worse treatment        provision—which prohibits an employer from taking
must be “with respect to” employment “terms [or]               action against an employee for bringing or aiding a Title
conditions.” §2000e-2(a)(1). The “terms [or] conditions”       VII charge—applies only when the retaliatory action is
phrase is not used “in the narrow contractual sense”; it       “materially adverse,” meaning that it causes “significant”
covers more than the “economic or tangible.” Oncale,           harm. Id., at 68. White adopted that standard for
523 U. S., at 78; Meritor Savings Bank, FSB v. Vinson,         reasons peculiar to the retaliation context. The test was
477 U. S. 57, 64. Still, the phrase circumscribes the          meant to capture those employer actions serious
injuries that can give rise to a suit like this one. To make   enough to “dissuade[ ] a reasonable worker from
out a Title VII discrimination claim, a transferee must        making or supporting a charge of discrimination.” Ibid.
show some harm respecting an identifiable term or              An action causing less serious harm will not deter Title
condition of employment.                                       VII enforcement and so falls outside the purposes of the
                                                               ban on retaliation. But that reasoning does not apply to
What the transferee does not have to show is that the          the anti-discrimination provision, which flatly “prevent[s]
harm incurred was “significant” or otherwise exceeded          injury to individuals based on” protected status, id., at
some heightened bar. “Discriminate against” means              63, without distinguishing between significant and less
treat worse, here based on sex. See, e.g., Bostock, 590        significant harms.
U. S., at 657. Neither that phrase nor any other
establishes an elevated threshold of harm. To demand           Finally, [*6] there is reason to doubt the City’s
“significance” is [*4] to add words to the statute             prediction that employees will flood courts with litigation
Congress enacted. It is to impose a new requirement on         in the absence of a significant-injury requirement.
a Title VII claimant, so that the law as applied demands       Courts retain multiple ways to dispose of meritless Title
something more than the law as written. That difference        VII claims challenging transfer decisions. But even
can make a real difference for complaining transferees.        supposing the City’s worst predictions come true, that
By asking whether the harm to the transferee is                would be the result of the statute Congress drafted. This
significant, appellate courts have disregarded varied          Court will not add words to the statute to achieve what
kinds of disadvantage. Pp. 5-7.                                the City thinks a desirable result. Pp. 8-10.

(b)The City’s three main arguments—based on statutory          (c)The courts below applied the wrong standard to
text, precedent, and policy—do not justify the use of a        Muldrow’s suit. Muldrow need show only some injury
“significance” standard.                                       respecting her employment terms or conditions. Her
                                                               allegations, if properly preserved and supported, meet
The Court rejects the City’s textual claim, which invokes      that test with room to spare. The Court recognizes,
the ejusdem generis canon—the idea that a general              however, that the decisions below may have rested in
phrase following an enumeration of things should be            part on issues of forfeiture and proof. The Court leaves
read to encompass only things of the same basic kind.          such matters for the courts below to address on remand
Applying that canon to the text of Title VII’s anti-           under the proper Title VII standard. Pp. 10-11.
discrimination provision, the City claims that because
refusing to hire or discharging a person causes a              30 F. 4th 680, vacated and remanded.
significant disadvantage, the “otherwise to discriminate
against” phrase can apply only to things causing an            Judges: Kagan, J., delivered the opinion of the Court, in
equal level of harm. But the statutory text itself provides    which Roberts, C. J., and Sotomayor, Gorsuch, Barrett,
a different shared trait: Each kind of prohibited              and Jackson, JJ., joined. Thomas, J., Alito, J., and
discrimination occurs by way of an employment action—          Kavanaugh, J., each filed an opinion concurring in the
whether pertaining to hiring, or firing, [*5] or               judgment.
compensating, or (as here) altering terms or conditions
through a transfer. That is a more than sufficient basis       Opinion by: KAGAN
to unite the provision’s several parts and avoid ejusdem
generis problems.                                              Opinion
Contrary to the City’s view, there is also no reason to
import a significant-harm requirement from this Court’s
                                                               JUSTICE [*7] KAGAN delivered the opinion of the Court.

                                                    Kyle MacDonald
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 4 of 10
                                                                                                          Page 3 of 9
                                               2024 U.S. LEXIS 1816, *7

Sergeant Jatonya Clayborn Muldrow maintains that her           Division, Muldrow now supervised [*9] the day-to-day
employer, the St. Louis Police Department, transferred         activities of neighborhood patrol officers. Her new duties
her from one job to another because she is a woman.            included approving their arrests, reviewing their reports,
She sued the City of St. Louis under Title VII, alleging       and handling other administrative matters; she also did
that she had suffered sex discrimination with respect to       some patrol work herself. Because she no longer served
the “terms [or] conditions” of her employment. 42 U. S.        in the Intelligence Division, she lost her FBI status and
C. §2000e-2(a)(1). The courts below rejected the claim         the car that came with it. And the change of jobs made
on the ground that the transfer did not cause Muldrow a        Muldrow’s workweek less regular. She had worked a
“significant” employment disadvantage. Other courts            traditional Monday-through-Friday week in the
have used similar standards in addressing Title VII suits      Intelligence Division. Now she was placed on a “rotating
arising from job transfers.                                    schedule” that often involved weekend shifts. 2020 WL
                                                               5505113, *2.
Today, we disapprove that approach. Although an
employee must show some harm from a forced transfer            Muldrow brought this Title VII suit to challenge the
to prevail in a Title VII suit, she need not show that the     transfer. Her complaint alleged that the City, in ousting
injury satisfies a significance test. Title VII’s text         her from the Intelligence Division, had “discriminate[d]
nowhere establishes that high bar.                             against” her based on sex “with respect to” the “terms
                                                               [or] conditions” of her employment. §2000e-2(a)(1). In
I
                                                               later deposition testimony, Muldrow set out her view of
                                                               what the transfer had cost her. She had been moved out
From 2008 through 2017, Sergeant Muldrow worked as
                                                               of a “premier position [in] the Police Department” into a
a plainclothes officer in the St. Louis Police
                                                               less “prestigious” and more “administrative” uniformed
Department’s specialized Intelligence Division. During
                                                               role. App. 105, 114, 120. She had fewer “opportunities”
her tenure there, she investigated public corruption and
                                                               to work on “important investigations,” as well as to
human trafficking cases, oversaw the Gang Unit, and
                                                               “network” with commanding officers. Id., at 104. [*10]
served as head of the Gun Crimes Unit. By virtue of her
                                                               And she lost material benefits—her weekday work
Division position, Muldrow was also deputized [*8] as a
                                                               schedule and take-home car. Or as she summarized the
Task Force Officer with the Federal Bureau of
                                                               situation: “I went from straight days, weekends off with a
Investigation—a status granting her, among other
                                                               take-home car and more visibility and responsibility
things, FBI credentials, an unmarked take-home vehicle,
                                                               within the Department to a rotating schedule with few
and the authority to pursue investigations outside St.
                                                               weekends off, assigned to . . . uniformed patrol,” with
Louis. In 2017, the outgoing commander of the
                                                               “responsibilities being limited to that of administrative
Intelligence Division told her newly appointed successor
that Muldrow was a “workhorse”—still more, that “if            work” and “supervising officers on patrol.” Id., at 120.
there was one sergeant he could count on in the                Title VII, Muldrow asserted in her suit, prevented the
Division,” it was Muldrow. 2020 WL 5505113, *1 (ED             City from making those changes to her employment
Mo., Sept. 11, 2020).                                          because of her sex.

                                                               The District Court, viewing the matter differently,
But the new Intelligence Division commander, Captain
                                                               granted the City summary judgment. Under Circuit
Michael Deeba, instead asked the Department to
                                                               precedent, the court explained, Muldrow needed to
transfer Muldrow out of the unit. Deeba wanted to
                                                               show that her transfer effected a “significant” change in
replace Muldrow—whom he sometimes called “Mrs.”
                                                               working conditions producing “material employment
rather than the customary “Sergeant”—with a male
                                                               disadvantage.” 2020 WL 5505113, *8-*9. And Muldrow,
police officer. See id., at *1-*2. That officer, Deeba later
                                                               the court held, could not meet that heightened-injury
testified, seemed a better fit for the Division’s “very
                                                               standard. “[S]he experienced no change in salary or
dangerous” work. Id., at *2; App. 139. The Department
                                                               rank.” Id., at *9. Her loss of “the networking
approved the transfer against Muldrow’s wishes. It
                                                               [opportunities] available in Intelligence” was immaterial
reassigned her to a uniformed job in the Department’s
                                                               because she had not provided evidence that it had
Fifth District.
                                                               harmed her “career prospects.” Id., at *8. And given her
                                                               continued      “supervisory    role,”    she   had     not
While Muldrow’s rank and pay remained the same in the
                                                               “suffered [*11] a significant alteration to her work
new position, her responsibilities, perks, and schedule
                                                               responsibilities.” Id., at *9. Finally, the District Court
did not. Instead of working with high-ranking officials on
                                                               concluded that the switch to a rotating schedule
the departmental priorities lodged in the Intelligence

                                                    Kyle MacDonald
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 5 of 10
                                                                                                               Page 4 of 9
                                                  2024 U.S. LEXIS 1816, *11

(including weekend work) and the loss of a take-home                because the text of Title VII imposes no such
vehicle could not fill the gap. Although mentioning those           requirement.
changes “in her statement of facts,” Muldrow had not
                                                                    II
relied on them in “her argument against summary
judgment.” Ibid., n. 20. And anyway, the court stated,              A
they “appear to be minor alterations of employment,
rather than material harms.” Ibid.                                  Title VII makes it unlawful for an employer “to fail or
                                                                    refuse to hire or to discharge any individual, or
The Court of Appeals for the Eighth Circuit affirmed. It            otherwise to discriminate against any individual with
agreed that Muldrow had to—but could not—show that                  respect to his compensation, terms, conditions, or
the transfer caused a “materially significant                       privileges of employment, because of such individual’s
disadvantage.” 30 F. 4th 680, 688 (2022). Like the                  race, color, religion, sex, or national origin.” §2000e-
District Court, the Eighth Circuit emphasized that the              2(a)(1). Muldrow’s suit, as described above, alleges that
transfer “did not result in a diminution to her title, salary,      she was transferred to a lesser position because she is
or benefits.” Id., at 688-689. And the Circuit, too,                a woman. That transfer, as both parties agree,
maintained that the change in her job responsibilities              implicated “terms” and “conditions” of Muldrow’s
was “insufficient” to support a Title VII claim. Id., at 689.       employment, changing nothing less than the what,
In the Fifth District, the court reasoned, Muldrow still had        where, and when of [*13] her police work. See Brief for
a “supervisory role” and participated in investigating              Muldrow 19; Brief for City 1, 45-46. So the statutory
serious crimes. Id., at 688. So the court thought                   language      applicable    to   this    case    prohibits
Muldrow’s view of the new job—“more administrative                  “discriminat[ing] against” an individual “with respect to”
and less prestigious”—was unsupported by record                     the “terms [or] conditions” of employment because of
evidence and not [*12] “persuasive.” Ibid. The court did            that individual’s sex.
not address Muldrow’s new schedule or her loss of a
car, apparently thinking those matters either forfeited or          That language requires Muldrow to show that the
too slight to mention. Overall, the court held, Muldrow’s           transfer brought about some “disadvantageous” change
claim could not proceed because she had experienced                 in an employment term or condition. Oncale v.
“only minor changes in working conditions.” Ibid.                   Sundowner Offshore Services, Inc., 523 U. S. 75, 80
                                                                    (1998). The words “discriminate against,” we have
We granted certiorari, 600 U. S. ___ (2023), to resolve a           explained, refer to “differences in treatment that injure”
Circuit split over whether an employee challenging a                employees. Bostock v. Clayton County, 590 U. S. 644,
transfer under Title VII must meet a heightened                     681 (2020). Or otherwise said, the statute targets
threshold of harm—be it dubbed significant, serious, or             practices that “treat[ ] a person worse” because of sex
something similar.1 We now vacate the judgment below                or other protected trait. Id., at 658. And in the typical
                                                                    transfer case, that “worse” treatment must pertain to—
                                                                    must be “with respect to”—employment “terms [or]
                                                                    conditions.” §2000e-2(a)(1). The “terms [or] conditions”
1 Compare, e.g., 30 F. 4th 680, 688 (CA8 2022) (case below)
                                                                    phrase, we have made clear, is not used “in the narrow
(“materially significant disadvantage”); Caraballo-Caraballo v.     contractual sense”; it covers more than the “economic or
Correctional Admin., 892 F. 3d 53, 61 (CA1 2018) (“materially
                                                                    tangible.” Oncale, 523 U. S., at 78; Meritor Savings
changes” employment conditions in a manner “more disruptive
                                                                    Bank, FSB v. Vinson, 477 U. S. 57, 64 (1986). Still, the
than a mere inconvenience or an alteration of job
                                                                    phrase circumscribes the injuries that can give rise to a
responsibilities”); Williams v. R. H. Donnelley, Corp., 368 F. 3d
123, 128 (CA2 2004) (“materially significant disadvantage”);        suit like this one. To make out a Title VII discrimination
James v. Booz-Allen & Hamilton, Inc., 368 F. 3d 371, 376            claim, a transferee must show some harm respecting an
(CA4 2004) (“significant detrimental effect”); O’Neal v.            identifiable term or condition of employment.
Chicago, 392 F. 3d 909, 911 (CA7 2004) (“materially
adverse”); Sanchez v. Denver Public Schools, 164 F. 3d 527,         What the transferee does not have to show, [*14]
532 (CA10 1998) (“significant change”); and Webb-Edwards v.         according to the relevant text, is that the harm incurred
Orange Cty. Sheriff ’s Office, 525 F. 3d 1013, 1033 (CA11           was “significant.” 30 F. 4th, at 688. Or serious, or
2008) (“serious and material change”), with Chambers v.             substantial, or any similar adjective suggesting that the
District of Columbia, 35 F. 4th 870, 872, 876-877 (CADC             disadvantage to the employee must exceed a
2022) (en banc) (overruling precedent that demanded an              heightened bar. See supra, at 4, and 4-5, n. 1.
“objectively tangible harm” and rejecting a “material adversity”    “Discriminate against” means treat worse, here based
requirement).

                                                         Kyle MacDonald
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 6 of 10
                                                                                                                    Page 5 of 9
                                                    2024 U.S. LEXIS 1816, *14

on sex. See, e.g., Bostock, 590 U. S., at 657-658, 681.               B
But neither that phrase nor any other says anything
about how much worse. There is nothing in the                         The City, in defense of that added requirement, makes
provision to distinguish, as the courts below did,                    three main arguments—one about the text, one about
between transfers causing significant disadvantages                   our precedent, and one about policy. None justifies the
and transfers causing not-so-significant ones. And there              use of a “significance” standard. [*16]
is nothing to otherwise establish an elevated threshold
                                                                      The textual claim invokes the ejusdem generis canon—
of harm. To demand “significance” is to add words—and
                                                                      the idea that a general phrase following an enumeration
significant words, as it were—to the statute Congress
                                                                      of things should be read to encompass only things of
enacted. It is to impose a new requirement on a Title VII
                                                                      the same basic kind. Recall the prohibition at issue
claimant, so that the law as applied demands something
                                                                      here: An employer may not, based on sex, “fail or refuse
more of her than the law as written.
                                                                      to hire” or “discharge” any person or “otherwise . . .
And that difference can make a real difference for                    discriminate against [her] with respect to [her]
complaining transferees. Many forced transfers leave                  compensation, terms, conditions, or privileges of
workers worse off respecting employment terms or                      employment.” §2000e-2(a)(1); see supra, at 5. Refusing
conditions. (After all, a transfer is not usually forced              to hire or discharging a person, the City notes, causes a
when it leaves the employee better off.) But now add                  significant disadvantage; so the subsequent “otherwise”
another question—whether the harm is significant. [*15]               phrase, the City claims, can apply only to things causing
As appellate decisions reveal, the answers can lie in the             an equal level of harm. See Brief for City 16, 25-27. But
eye of the beholder—and can disregard varied kinds of                 the City fails to explain why the presence of significant
disadvantage. Take just a few examples from the                       disadvantage must be part of the list’s common
caselaw. An engineering technician is assigned to work                denominator. The text itself provides a different shared
at a new job site—specifically, a 14-by-22-foot wind                  trait. Each kind of prohibited discrimination occurs by
tunnel; a court rules that the transfer does not have a               way of an employment action—whether pertaining to
“significant detrimental effect.” Boone v. Goldin, 178 F.             hiring, or firing, or compensating, or (as here) altering
3d 253, 256 (CA4 1999). A shipping worker is required                 terms or conditions through a transfer. That is a more
to take a position involving only nighttime work; a court             than sufficient basis to unite the provision’s several
decides that the assignment does not “constitute a                    parts and avoid ejusdem generis problems. There is no
significant change in employment.” Daniels v. United                  need for courts [*17] to introduce a significant-harm
Parcel Serv., Inc., 701 F. 3d 620, 635 (CA10 2012). And               requirement.
a school principal is forced into a non-school-based
                                                                      The City’s argument from precedent fares no better. It
administrative role supervising fewer employees; a court
                                                                      relies on Burlington Northern & Santa Fe Railway Co. v.
again finds the change in job duties not “significant.”
                                                                      White, 548 U. S. 53 (2006), which addressed Title VII’s
Cole v. Wake Cty. Bd. of Educ., 834 Fed. Appx. 820,
                                                                      separate anti-retaliation provision. Under that section,
821 (CA4 2021) (per curiam). All those employees
                                                                      an employer may not take action against an employee
suffered some injury in employment terms or conditions
                                                                      for bringing or aiding a Title VII charge. See §2000e-
(allegedly because of race or sex). Their claims were
                                                                      3(a). The Court held that the provision applies only
rejected solely because courts rewrote Title VII,
                                                                      when the retaliatory action is “materially adverse,”
compelling workers to make a showing that the statutory
                                                                      meaning that it causes “significant” harm. Id., at 68. The
text does not require.2
                                                                      City thinks we should import the same standard into the
                                                                      anti-discrimination provision at issue. See Brief for City
2 JUSTICE THOMAS’s concurring opinion appears to disagree in
                                                                      18-19. But that would create a mismatch. White adopted
                                                                      the standard for reasons peculiar to the retaliation
two respects. He initially disputes that courts have applied a
                                                                      context. The test was meant to capture those (and only
heightened-harm requirement in demanding that a plaintiff
show something like “materially significant disadvantage.” See
post, at 1 (opinion concurring in judgment). And as a corollary,      It lowers the bar Title VII plaintiffs must meet. Second,
he denies that courts will have to change their treatment of          because it does so, many cases will come out differently. The
Title VII claims once they start to apply the simple injury           decisions described above are examples, intended to illustrate
standard set out in this opinion. See post, at 2-3. In light of       how claims that failed under a significance standard should
those views, we underscore two points. First, this decision           now succeed. And as we will discuss, the decision below is
changes the legal standard used in any circuit that has               another such example, putting to one side case-specific issues
previously required “significant,” “material,” or “serious” injury.   of forfeiture and proof. See infra, at 10-11.

                                                          Kyle MacDonald
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 7 of 10
                                                                                                            Page 6 of 9
                                               2024 U.S. LEXIS 1816, *17

those) employer actions serious enough to “dissuade[ ]          treatment of Muldrow’s suit cannot survive. The court
a reasonable worker from making or supporting a                 required Muldrow to show that the allegedly
charge of discrimination.” 548 U. S., at 68. If an action       discriminatory transfer out of the Intelligence Division
causes less serious harm, the Court reasoned, it will not       produced a significant employment disadvantage. See
deter Title VII enforcement; and if it will not deter Title     supra, at 4. As we have explained, that is the wrong
VII enforcement, it falls outside the purposes of the ban       standard. Muldrow need show only some injury
on retaliation. See id., at 63, 68. But no such (frankly        respecting her employment terms or conditions. The
extra-textual) reasoning is applicable to the                   transfer must have left her worse off, but need not have
discrimination bar. Whether an action causes significant        left her significantly so. And [*20]           Muldrow’s
enough harm [*18] to deter any employee conduct is              allegations, if properly preserved and supported, meet
there beside the point. White itself noted the difference:      that test with room to spare. Recall her principal
The anti-discrimination provision, we explained, simply         allegations. She was moved from a plainclothes job in a
“seeks a workplace where individuals are not                    prestigious specialized division giving her substantial
discriminated against” because of traits like race and          responsibility over priority investigations and frequent
sex. Id., at 63. The provision thus flatly “prevent[s] injury   opportunity to work with police commanders. She was
to individuals based on” status, ibid., without                 moved to a uniformed job supervising one district’s
distinguishing between significant and less significant         patrol officers, in which she was less involved in high-
harms.                                                          visibility matters and primarily performed administrative
                                                                work. Her schedule became less regular, often requiring
Finally, the City’s policy objections cannot override Title     her to work weekends; and she lost her take-home car.
VII’s text. In the City’s view, a significant-injury            If those allegations are proved, she was left worse off
requirement is needed to prevent transferred employees          several times over. It does not matter, as the courts
from “swamp[ing] courts and employers” with                     below thought (and JUSTICE THOMAS echoes), that her
insubstantial lawsuits requiring “burdensome discovery          rank and pay remained the same, or that she still could
and trials.” Brief for City 45, 49 (capitalization and          advance to other jobs. See supra, at 3-4; post, at 2. Title
boldface omitted). But there is reason to doubt that the        VII prohibits making a transfer, based on sex, with the
floodgates will open in the way feared. As we have              consequences Muldrow described.
explained, the anti-discrimination provision at issue
requires that the employee show some injury. See                We recognize, however, that the decisions below may
supra, at 5-6. It requires that the injury asserted concern     have rested in part on issues of forfeiture and proof. The
the terms or conditions of her employment. See ibid.            District Court noted, for example, that Muldrow had
Perhaps most notably, it requires that the employer             failed to discuss in her argument against summary
have acted for discriminatory reasons—“because of ”             judgment [*21] the changes in her work schedule and
sex or race or other protected trait. §2000e-                   vehicle access; and perhaps following that lead, the
2(a)(1). [*19] And in addressing that issue, a court may        Court of Appeals did not address those harms. See
consider whether a less harmful act is, in a given              supra, at 3-4. In addition, both courts suggested that
context, less suggestive of intentional discrimination. So      some of the allegations Muldrow made about the nature
courts retain multiple ways to dispose of meritless Title       of the work she did in her old and new jobs lacked
VII claims challenging transfer decisions. But even             adequate evidentiary support. See ibid. We leave such
supposing the City’s worst predictions come true, that          matters for the courts below to address. All we require is
would be the result of the statute Congress drafted. As         that they use the proper Title VII standard, and not
we noted in another Title VII decision, we will not “add        demand that Muldrow demonstrate her transfer caused
words to the law” to achieve what some employers                “significant” harm.
might think “a desirable result.” EEOC v. Abercrombie &
                                                                We accordingly vacate the judgment of the Court of
Fitch Stores, Inc., 575 U. S. 768, 774 (2015). Had
                                                                Appeals for the Eighth Circuit and remand the case for
Congress wanted to limit liability for job transfers to
                                                                further proceedings consistent with this opinion.
those causing a significant disadvantage, it could have
done so. By contrast, this Court does not get to make           It is so ordered.
that judgment.
III                                                             Concur by: THOMAS; ALITO; KAVANAUGH

In light of everything said above, the Court of Appeals’        Concur

                                                     Kyle MacDonald
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 8 of 10
                                                                                                         Page 7 of 9
                                             2024 U.S. LEXIS 1816, *21

                                                             Muldrow argued only that the City moved her to a job
                                                             that was “more administrative and less prestigious.” Id.,
JUSTICE THOMAS, concurring in the judgment.                  at 688. Her “only evidence” in support of that argument
                                                             was “her own deposition testimony,” which neither the
I agree with JUSTICE ALITO that the Courts of Appeals all
                                                             District Court nor the Eighth Circuit found persuasive.
appear to articulate the same principle, but with slightly
                                                             Ibid. And, Muldrow’s testimony certainly did not
varying verbal formulations: A plaintiff bringing a claim
                                                             establish any “proof of harm resulting from [her]
under 42 U. S. C. §2000e-2(a)(1) must show harm that
                                                             reassignment.” Ibid. After the transfer, Muldrow’s “pay
is more than trifling. Post, at 1-2 (opinion concurring in
                                                             and rank remained the same, she was given a
judgment). And, there is little practical difference
                                                             supervisory role, and she was responsible for
between that principle and the Court’s holding. Ante, at
                                                             investigating [*24] violent crimes, such as homicides
1 (holding that an employee “must show some harm”).
                                                             and robberies.” Ibid. Muldrow even conceded that the
                                                             transfer “did not harm her future career prospects.” Ibid.
I [*22] am not convinced, however, that the Court
                                                             At most, then, Muldrow “expresse[d] a mere preference
accurately characterizes the Eighth Circuit’s decision. I
                                                             for one position over the other.” Id., at 689.
do not read the Eighth Circuit to have necessarily
imposed a heightened-harm requirement in the form of         Muldrow failed to prove that there was any nontrifling
a “significance” test. The Eighth Circuit defined an         change in her job’s prestige—which was her lone theory
adverse employment action as “a tangible change in           of harm. Id., at 688-689. The Eighth Circuit rejected
working conditions that produces a material employment       Muldrow’s     adverse     employment      action    claim
disadvantage.” 30 F. 4th 680, 688 (2022) (internal           accordingly. I fail to see how the Eighth Circuit’s
quotation marks omitted). It further explained that “minor   reasoning—that a plaintiff must offer colorable evidence
changes in duties or working conditions, even                of harm—is equivalent to the heightened-harm
unpalatable or unwelcome ones, which cause no                requirement the Court concludes the Eighth Circuit
materially significant disadvantage, do not rise to the      applied. Ante, at 10 (agreeing that “[t]he transfer must
level of an adverse employment action.” Ibid. (alteration    have left [Muldrow] worse off ”).
and internal quotation marks omitted). In other words, a
plaintiff must have suffered an actual disadvantage as       All that said, I recognize that the terms “material” and
compared to minor changes—i.e., more than a trifling         “significant” can (but do not always) imply a heightened-
harm. That standard aligns with the Court’s observation      harm requirement. Although I find it unlikely, it is
that a plaintiff must show “some ‘disadvantageous’           possible that the Eighth Circuit had such a stringent test
change in an employment term or condition.” Ante, at 5       in mind when it stated that a plaintiff must show a
(quoting Oncale v. Sundowner Offshore Services, Inc.,        “‘materially significant disadvantage.’” 30 F. 4th, at 688.
523 U. S. 75, 80 (1998)).                                    I thus agree to vacate and remand to the extent the
                                                             Eighth Circuit’s analysis is inconsistent with a more-
The Court insists that the Eighth Circuit must have          than-trifling-harm requirement.
demanded more given the weight of Muldrow’s
allegations. Specifically, the Court underscores             JUSTICE ALITO, concurring [*25] in the judgment.
Muldrow’s claims that the City of St. Louis “moved [her]
from a [*23] plainclothes job in a prestigious specialized   I agree with the judgment in this case. Assuming without
division” with a take-home car and a regular schedule,       deciding that all the facts mentioned by the Court are
to a “uniformed job supervising one district’s patrol        relevant and properly presented, petitioner’s transfer
officers,” with no take-home car and an irregular            altered the “terms” or “conditions” of her employment,
schedule. Ante, at 10. But, most of those allegations are    42 U. S. C. §2000e-2(a)(1), and therefore she can
forfeited or attributable to a nonparty, the Federal         prevail if she can prove that she was transferred
Bureau of Investigation. See 2020 WL 5505113, *9, n.         because of her sex.
20 (ED Mo., Sept. 11, 2020) (observing that Muldrow
did not raise arguments based on “having to return her       I do not join the Court’s unhelpful opinion. For decades,
take-home [car],” “changes to her schedule, including        dozens of lower court judges, with a wealth of
having to work weekends,” or “having to work in plain        experience handling Title VII cases, have held that not
clothes”); 30 F. 4th, at 689 (concluding that “the FBI had   every unwanted employment experience affects an
the sole authority to revoke” Muldrow’s plainclothes and     employee’s “terms” or “conditions” of employment. The
take-home car privileges). Before the Eighth Circuit,        lower courts have used various verbal formulations to


                                                  Kyle MacDonald
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 9 of 10
                                                                                                                 Page 8 of 9
                                              2024 U.S. LEXIS 1816, *25

express this point, and the Court, dubious about the           As I see it and as the D. C. Circuit saw it, the issue here
words they had selected, granted review to provide             is not complicated. Suppose that an employer says to
guidance. Now, after briefing and argument, that               an employee in the Columbus office: “We are
guidance is as follows: Title VII plaintiffs must show that    transferring you to the Cincinnati office because you are
the event they challenge constituted a “harm” or “injury,”     black. But your compensation will not change.” Does
but that the event need not be “significant” or                that violate Title VII? Of course it does. To begin with,
“substantial.” See ante, at 10-11.                             the employer has treated the employee differently
                                                               because of race. To be sure, the fact that a transfer may
I have no idea what this means, and I can just imagine         not involve a change in compensation can affect the
how this guidance will be greeted by lower court judges.       amount of any damages, as Muldrow’s attorney
The primary definition of “harm” is “physical or mental        acknowledged. See Tr. of Oral Arg. [*28] 41-42. But a
damage,” and an “injury” is defined [*26] as “an act that      transfer changes the terms, conditions, or privileges of
damages, harms, or hurts: an unjust or undeserved              employment. Therefore, a discriminatory transfer
infliction of suffering or harm.” Webster’s Third              violates the statute. “The plain text of Title VII requires
International Dictionary 1034, 1164 (1976). These              no more.” Chambers, 35 F. 4th, at 875.1
definitions incorporate at least some degree of
significance or substantiality. We do not typically say        Unlike the D. C. Circuit, some Courts of Appeals have
that we were harmed or injured by every unwanted               held that discriminatory transfers are not prohibited by
experience. What would we think if a friend said, “I was       Title VII unless the transfer also causes significant
harmed because the supermarket had run out of my               employment disadvantage. Ante, at 4-5, n. 1. Today,
favorite brand of peanut butter,” or, “I was injured           this Court definitively rejects those rulings. Ante, at 6, 7,
because I ran into three rather than the usual two red         n. 2. I fully agree with the Court on that point.
lights on the way home from work”?
                                                               But the Court’s opinion then goes on to require that a
I see little if any substantive difference between the         plaintiff in a discriminatory-transfer case show at least
terminology the Court approves and the terminology it          “some harm” beyond the harm of being transferred on
doesn’t like. The predictable result of today’s decision is    the basis of race, color, religion, sex, or national origin.
that careful lower court judges will mind the words they       Ante, at 6. I disagree with the Court’s new some-harm
use but will continue to do pretty much just what they         requirement. No court has adopted a some-harm
have done for years.                                           requirement, and no party or amicus advocated that
                                                               requirement to this Court. More to the point, the text of
JUSTICE KAVANAUGH, concurring in the judgment.
                                                               Title VII does not require a separate showing of some
Title VII of the Civil Rights Act of 1964 makes it unlawful    harm. The discrimination is harm. The only question
for an employer “to discriminate against any individual        then is whether the relevant employment action
with respect to his compensation, terms, conditions, or        changes the compensation, terms, conditions, or
privileges of employment, because of such individual’s         privileges of employment. [*29] A transfer does so.
race, color, religion, sex, or national origin.” 42 U. S. C.   Therefore, as the D. C. Circuit explained, a transfer on
§2000e-2(a)(1). The question presented in this case is         the basis of race, color, religion, sex, or national origin is
whether transferring [*27] an employee—for example,            actionable under Title VII. Chambers, 35 F. 4th, at 874-
changing an employee’s job responsibilities or job             879.
location—on the basis of race, color, religion, sex, or
                                                               All of that said, the Court’s new some-harm requirement
national origin violates Title VII. The answer is yes.
                                                               appears to be a relatively low bar. Importantly, the Court
I therefore agree with the straightforward opinion jointly
authored by Judge Tatel and Judge Ginsburg for the en
                                                               1 To be sure, the employment action in a transfer case must
banc D. C. Circuit. See Chambers v. District of
                                                               actually be a transfer (or denied transfer), which requires a
Columbia, 35 F. 4th 870 (2022). As that court explained,
                                                               change (or denied change) in the compensation, terms,
even when a transfer does not change an employee’s
                                                               conditions, or privileges of employment. See Brief for District
compensation, a transfer does change the employee’s
                                                               of Columbia et al. as Amici Curiae 17-18. There may be edge
terms, conditions, or privileges of employment. See id.,       cases about what qualifies as a transfer. But as the Solicitor
at 874-879. Therefore, a transfer made on the basis of         General notes, a change in an employee’s job location or job
the employee’s race, color, religion, sex, or national         responsibilities readily qualifies. See Brief for United States as
origin violates Title VII. See id., at 874-875.                Amicus Curiae 11, 22.

                                                    Kyle MacDonald
Case 1:23-cv-23310-KMW Document 28-1 Entered on FLSD Docket 04/17/2024 Page 10 of 10
                                                                           Page 9 of 9
                                               2024 U.S. LEXIS 1816, *29

 emphasizes that “some harm” is less than significant
 harm, serious harm, or substantial harm. Ante, at 6.
 Therefore, anyone who has been transferred because of
 race, color, religion, sex, or national origin should easily
 be able to show some additional harm—whether in
 money, time, satisfaction, schedule, convenience,
 commuting costs or time, prestige, status, career
 prospects,      interest    level,   perks,     professional
 relationships, networking opportunities, effects on family
 obligations, or the like. So even though I respectfully
 disagree with the Court’s new some-harm requirement, I
 expect that the Court’s approach and my preferred
 approach will land in the same place and lead to the
 same result in 99 out of 100 discriminatory-transfer
 cases, if not in all 100.


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                                                     Kyle MacDonald
